                                                                                                   LOCAL BANKRUPTCY FORM 3015-1
                                                                                                       Rev. 09/01/14
                                  IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:
Weber, Mark Scott                                       : CHAPTER 13
Weber, Cynthia Eloisa                                   : CASE NO. 5:17-bk-01848-JJT
                                                        :
                                                        : FIRST AMENDED CHAPTER 13 PLAN
                                                        : (Indicate if applicable)
                                                        : [ ] MOTIONS TO AVOID LIENS
                                                        : [ ] MOTIONS TO VALUE COLLATERAL

                               YOUR RIGHTS WILL BE AFFECTED
 READ THIS PLAN CAREFULLY. If you oppose any provision of this plan you must file a timely
 written objection. This plan may be confirmed and become binding on you without further notice or
 hearing unless a written objection is filed before the deadline stated on the Notice issued in connection
 with the filing of the plan

                                                     PLAN PROVISIONS
DISCHARGE: (Check one)

[X]              The debtor will seek a discharge of debts pursuant to Section 1328(a).
[ ]              The debtor is not eligible for a discharge of debts because the debtor has previously received a discharge
                 described in Section 1328(f).

NOTICE OF SPECIAL PROVISIONS: (Check if applicable)

[X]              This plan contains special provisions that are not included in the standard plan as approved by the U.S.
                 Bankruptcy Court for the Middle District of Pennsylvania. Those provisions are set out in Section 8 of this
                 plan. Other than to insert text into the designated spaces or to expand the tables to include additional
                 claims, the preprinted language of this form may not be altered. This does not mean that the Debtor is
                 prohibited from proposing additional or different plan provisions in Section 8. The Debtor may propose
                 additional or different plan provisions or specify that any of the provisions will not be applicable, provided
                 however, that each such provision or deletion shall be set forth herein in Section 8.

1.       PLAN FUNDING AND LENGTH OF PLAN

         A. Plan Payments

            1.       To date, the DEBTOR(S) has paid $ 6,556.44 (enter $0 if no payments have been made to the Trustee
                     to date). Debtor(s) shall pay to the Trustee for the remaining term of the plan the following payments.
                     If applicable, in addition to monthly plan payments, Debtor(s) shall make conduit payments through the
                     Trustee as set forth below. The total base plan is $ 58,851.54, plus other payments and property stated
                     in Section 1B below:

      Start                   End                                      Estimated Conduit
      mm/yy                  mm/yy              Plan Payment               Payments              Total Payment
                                                                                                              6,556.44
 Month 1 (6/2017)       Month 5 (10/2017)    Total Paid 5,632.70       Total Paid $923.70       -------------------------
   ---------------        ---------------            ---------------          ---------------     (Total Per Month
 Month 6 (11/2017)      Month 60 (5/2022)                  750.73                   200.09       950.82) 52,295.10
                                                                         Total Payments:                    58,851.54

            2.       If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a
                     different payment is due, the Trustee shall notify the Debtor and the attorney for the Debtor, in writing,

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                    to adjust the conduit payments and the plan funding accordingly. Debtor(s) is responsible for all
                    post-petition mortgage payments due prior to the initiation of conduit mortgage payments.

            3.      Debtor(s) shall take appropriate action to ensure that all applicable wage attachments are adjusted to
                    conform to the terms of the plan.

            4.      CHECK ONE:           [ ] Debtor(s) is at or under median income
                                         [X] Debtor(s) is over median income. Debtor(s) calculates that a minimum of $
                                         36,033.37 must be paid to unsecured, non-priority creditors in order to comply with
                                         the Means Test.

        B. Liquidation of Assets

            1.      In addition to the above specified plan payments, Debtor(s) shall dedicate to the plan proceeds in the
                    estimated amount of $           from the sale of property known and designated as                         .
                    All sales shall be completed by                    . If the property does not sell by the date specified,
                    then the disposition of the property shall be as follows:

            2.      Other payments from any source(s) (describe specifically) shall be paid to the Trustee as follows:

            3.      The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation value is calculated
                    as the value of all nonexempt assets after the deduction of valid liens and encumbrances and before the
                    deduction of Trustee fees and priority claims.)

2.      SECURED CLAIMS

        A. Pre-Confirmation Distributions. Adequate protection and conduit payments in the following amounts will be
           paid by the Debtor to the Trustee. The Trustee will disburse these payments for which a proof of claim has
           been filed as soon as practicable after receipt of said payments from the Debtor.

                                                                                                 Estimated
                                                                                                  Monthly
           Name of Creditor                           Address                     Account#       Payment
                                        P.O. Box 380901, Bloomington, MN
Ally Financial                          55438                                 ******4953              200.09

        The Trustee will not make a partial payment. If the Debtor makes a partial plan payment, or if it is not paid on time
        and the Trustee is unable to pay timely a payment due on a claim in this section, the Debtor's cure of this default
        must include any applicable late charges.

        Upon receipt, Debtor shall mail to the Trustee all notices from mortgagees including statements, payment coupons,
        impound and escrow notices, and notices concerning changes of the interest rate on variable interest rate loans. If
        any such notice informs the Debtor that the amount of the payment has increased or decreased, the change in the
        plan payment to the Trustee will not require modification of this plan.

        B. Mortgages and Other Direct Payments by Debtor. Payments will be made outside the plan according to the
           original contract terms, with no modification of contract terms and with liens retained. All mortgage and other
           lien claim balances survive the plan if not avoided or paid in full under the plan.

                                                                                  Contractual    Principal
                                                                                   Monthly       Balance of
           Name of Creditor                     Description of Collateral          Payment         Claim
Ocwen Loan Servicing, LLC               Residential Dwelling                           902.00    155,740.00

        C. Arrears. The Trustee shall distribute the amount of pre-petition arrearages set forth in the allowed proof of
           claim to each secured creditor set forth below. If the Debtor or the Trustee objects to a proof of claim and the

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            objection is sustained, or if the plan provides for payment of amounts greater than the allowed proof of claim,
            the creditor's claim will be paid in the amount allowed by the court.

                                                                                        Estimated
                                                                           Estimated    Post-petiti
                                                                          Pre-petition      on          Estimated
                                                                          Arrears to be Arrears to     Total to be
        Name of Creditor                  Description of Collateral          Cured      be Cured       paid in plan
Ally Financial (Claim 1-1)           2013 Dodge Ram                            325.41                          325.41
Ocwen Loan Servicing (Claim
8-1)                                 Residential Dwelling                      1,471.43                   1,471.43

        D. Secured Claims Paid According to Modified Terms. These amounts will be paid in the plan according to
           modified terms, and liens retained until entry of discharge. The excess of the creditor's claim will be treated as
           an unsecured claim. Any claim listed as NO VALUE in the Modified Principal Balance column below will
           be treated as an unsecured claim. THE LIENS WILL BE AVOIDED OR LIMITED THROUGH THE PLAN
           OR DEBTOR(S) WILL FILE AN ADVERSARY ACTION TO DETERMINE THE EXTENT, VALIDITY,
           AND PRIORITY OF THE LIEN (Select method in last column):

                                                             Modified                                 Plan* or
                                                             Principal     Interest        Total     Adversary
     Name of Creditor        Description of Collateral       Balance         Rate         Payment      Action
                                                                                                       Plan -
                                                                                                    Cramdown
                                                                                                      (Please
                                                                                                     Refer to
                                                                                                    Paragraphs
Ally Financial             2013 Ram 1500                      11,500.00        5.0%       12,250.00  2A & 2C)

* PLAN INDICATES THAT THE DEBTOR(S) PROPOSES TO AVOID OR LIMIT THE LIEN OF THE
CREDITOR IN THIS PLAN. CONFIRMATION OF THE PLAN SHALL CONSTITUTE A FINDING OF
VALUATION PURSUANT TO SECTION 506(a). NO ADVERSARY COMPLAINT OR MOTION WILL BE
FILED AND THE LIEN WILL BE AVOIDED BY A CONFIRMATION ORDER UPON DISCHARGE. IF THE
CREDITOR WISHES TO CONTEST THE AVOIDANCE OF THE LIEN, THE CREDITOR MUST FILE AN
OBJECTION TO THIS PLAN. OTHERWISE CONFIRMATION OF THE PLAN WILL AVOID THE LIEN
UPON DISCHARGE.

        E. Other Secured Claims. (Including conduit payments)

                                                                            Principal
                                                                            balance of     Interest    Total to be
        Name of Creditor                  Description of Collateral           Claim          Rate      paid in plan
None

        F. Surrender of Collateral. Debtor(s) surrenders the following assets to secured creditors. Upon confirmation of
           the plan, bankruptcy stays are lifted as to the collateral to be surrendered. This provision does not prejudice a
           creditor's right to move to lift the stay prior to confirmation.

                  Name of Creditor                               Description of Collateral to be Surrendered
None

        G. Lien Avoidance. The Debtor moves to avoid the following judicial and/ or nonpossessory, non-purchase money
           liens of the following creditors pursuant to Section 522(f) (this section should not be used for statutory or
           consensual liens such as mortgages):

                  Name of Creditor                                        Description of Collateral
None


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       H. Optional provisions regarding duties of certain mortgage holders and servicers.
          Property of the estate vests upon closing of the case, and Debtor elects to include the following provisions.
          (Check if applicable)

           [ ]         Confirmation of the plan shall impose an affirmative duty on the holders and/or servicers of any claims
                       secured by liens, mortgages and/or deeds of trust on the principal residence of the Debtor to do the
                       following:

           (1)         Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
                       arrearage. If the plan provides for an allowed payment of post-petition arrearages as set forth in
                       Section 2C, apply those payments to only the post-petition arrearages.

           (2)         Deem the pre-petition arrearage as contractually current upon confirmation of the plan for the sole
                       purpose of precluding the imposition of late payment charges or other default-related fees and services
                       based solely on the pre-petition default or defaults.

           (3)         Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
                       obligations as provided for by the terms of the underlying mortgage note. Late charges may be assessed
                       on post-petition payments as provided by the terms of the mortgage and note.

3.     PRIORITY CLAIMS

       A. Allowed unsecured claims entitled to priority under section 1322(a) will be paid in full unless modified under
          Section 8:

                                                                                              Estimated Total
                                       Name of Creditor                                           Payment
Internal Revenue Service                                                                              480.00
PA Department of Revenue (Claim 3-1)                                                                  433.76

       B. Administrative Claims:

           (1) Trustee fees.       Percentage fees payable to the Trustee will be paid at the rate fixed by the United States
                                   Trustee, not to exceed 10%.

           (2) Attorney fees. Check one box:

                 [X]       In addition to the retainer of $ 277.00 already paid by the Debtor, the amount of $3,823.20 (3,723.00
                           following the Plan's Confirmation and$100.20 for reimbursement of expenses) in the plan. This
                           represents the unpaid balance of the presumptively reasonable fee specified in L.B.R. 2016-2.

                 [ ]       $        per hour, to be adjusted in accordance with the terms of the written fee agreement between
                           the Debtor and the attorney. Payment of such lodestar compensation shall require a separate fee
                           application with the requested amount of compensation approved by the Court.

           (3) Other administrative claims.

                                                                                            Estimated Total
                                     Name of Creditor                                           Payment
None


4.     UNSECURED CLAIMS

       A. Claims of Unsecured Nonpriority Creditors Specially Classified. Includes unsecured claims, such as co-signed

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               unsecured debts, that will be paid in full even though all other unsecured claims may not be paid in full.

                                                                              Amount of    Interest       Total
         Name of Creditor              Reason for Special Classification       Claim         Rate        Payment
None

         B. All remaining allowed unsecured claims shall receive a pro-rata distribution of any funds remaining after
            payment of the other classes.

5.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following executory contracts and unexpired
         leases are assumed (and pre-petition arrears to be cured in the plan) or rejected (so indicate):

                          Description of       Monthly       Interest      Pre-petition    Total         Assume/
 Name of Creditor          Collateral          Payment         Rate          Arrears      Payment         Reject
None


6.       REVESTING OF PROPERTY: (Check One)

         [X]       Property of the estate will vest in the Debtor upon confirmation. (Not to be used with Section 2H)

         [ ]       Property of the estate will vest in the Debtor upon closing of the case.

7.       STUDENT LOAN PROVISIONS

         A. Student loan provisions. This plan does not seek to discharge student loan(s) except as follows:




               (NOTE: If you are not seeking to discharge a student loan(s), do not complete this section.)

                                                             Monthly          Interest    Pre-petition        Total
                       Name of Creditor                      Payment            Rate        Arrears         Payments



8.       OTHER PLAN PROVISIONS:

         A. Include the additional provisions below or an attachment.(NOTE: The plan and any attachment must be
            filed as one document, not as a plan and exhibit.)

             - The instant Chapter 13 Plan proposes to pay back 100% of the following timely filed Proof of Claims
     excluding Student Loans (Totalling: $36,033.37):
                 Claim 1-1 (Unsecured Portion After Cramdown) - $1,947.13
                 Claim 2-1 - $19,773.71
                 Claim 3-1 (Unsecured Portion) $21.65
                 Claim 5-1 - $1,652.21
                 Claim 6-1 - $2,105.27
                 Claim 7-1 - $595.65
                 Claim 9-1 - $2,385.23
                 Claim 10-1 - $119.40
                 Claim 11-1 - $1,771.42
                 Claim 12-1 - $2,727.05
                 Claim 13-1 - $518.72
                 Claim 14-1 - $1,818.07
                 Claim 15-2 - $597.86

9.       ORDER OF DISTRIBUTION:


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Payments from the plan will be made by the Trustee in the following order:

Level 1:   Adequate protection payments
Level 2:   Debtor's attorney's fees
Level 3:   Domestic Support Obligations
Level 4:   Priority Claims, pro rata
Level 5:   Secured claims, pro rata
Level 6:   Specially classified unsecured claims
Level 7:   General unsecured claims
Level 8:   Untimely filed unsecured claims to which the debtor has not objected

If the above Levels are not filled-in, then the order of distribution of plan payments will be determined by the Trustee using
the following as a guide:

Level 1:   Adequate protection payments.
Level 2:   Debtor's attorney's fees.
Level 3:   Domestic Support Obligations.
Level 4:   Priority claims, pro rata.
Level 5:   Secured claims, pro rata.
Level 6:   Specially classified unsecured claims.
Level 7:   General unsecured claims.
Level 8:   Untimely filed unsecured claims to which the Debtor has not objected.

GENERAL PRINCIPLES APPLICABLE TO ALL PLANS

All pre-petition arrears and cramdowns shall be paid to the Trustee and disbursed to creditors through the plan.

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee will treat the
claim as allowed, subject to objection by the Debtor. Claims filed after the bar date that are not properly served on the
Trustee will not be paid. The Debtor is responsible for reviewing claims and filing objections, if appropriate.

Dated: October 24, 2017
                                      Attorney for Debtor

                                      Debtor

                                      Joint Debtor




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